Case: 4:15-cr-00049-CDP Doc. #: 700 Filed: 06/15/20 Page: 1 of 3 PageID #: 4336




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
vs.                                           ) No. 4:15 CR 00049 CDP
                                              )
NIHAD ROSIC,                                  )
                                              )
               Defendant.                     )

  DEFENDANT’S MOTION FOR THE COURT TO SET A SENTENCING HEARING

       Comes now defendant NIHAD ROSIC, by and through Counsel, and for his Motion for the

Court to Set Sentencing Hearing, states as follows:

       1.      On December 10, 2019, Defendant pled guilty to Counts I and III of the Indictment

(Doc. 682).

       2.      Pursuant to this Court’s Order of December 10, 2019, Defendant’s Sentencing

Hearing was set for April 16, 2020, and Objections to the Presentence Report were to be filed by

April 2, 2020 (Doc. 685).

       3.      On April 1, 2020, in light of the COVID-19 virus pandemic, undersigned Counsel

filed a Motion to Continue Sentencing (Doc. 692) and this Court granted the Motion on April 1,

2020, inter alia: “Deadlines to file objections to the Presentence Report and to file sentencing

memoranda are also extended and will be reset when the new sentencing date is set” (Doc. 693).

       4.      In light of the fact that Defendant has now been confined more than five (5) years,

request is made that this Honorable Court set a sentencing date of July 9, 16 or 30, 2020, or such

other time as is convenient to the Court.


                                                 1
Case: 4:15-cr-00049-CDP Doc. #: 700 Filed: 06/15/20 Page: 2 of 3 PageID #: 4337




        5.      Owing to the Defendant’s command of the English language, he will waive the

necessity and/or right to have an interpreter present at the sentencing hearing.

        6.      Further, request is made that the deadline for Defendant’s Objections to the

Presentence Report be filed no later than June 16, 2020, so as to allow the Government adequate

time to respond to said Objections.

        7.      Undersigned Counsel has went over the Objections to be filed with the Defendant in-

person today and he requested that his sentencing be set soon as possible and, further, wishes to

proceed via a video sentencing hearing.

        8.      Defendant is also aware that most of his objections to the Offense Conduct have

previously been ruled on by this Court during the sentencing hearings of his Co-Defendants, but on

advice of Counsel he understands that despite this fact, that similar objections be filed on his behalf.

        9.      Further, simply for clarification for the Court, despite previously advising that

Counsel would not be available for the period July 9 – 21, 2020, owing to the COVID-19 virus, her

plans have changed and she will, in fact, be available during the aforesaid period of time.

        10.     Defendant’s Counsel has left a message with Matthew Drake, Assistant United

States Attorney, this date in which she outlined the contents of the instant Motion.

        WHEREFORE, for the foregoing reasons, Defendant respectfully requests that this Court

Order that Defendant’s Objections to the Presentence Report be filed no later than June 16, 2020;

that an appropriate response time be set forth for the Government to respond; that the Sentencing

Hearing via video be scheduled for July 9, 16 or 30, 2020, or whatever other date is convenient for

this Court; and for such other and further Orders as the Court deems appropriate in the premises.



                                                   2
Case: 4:15-cr-00049-CDP Doc. #: 700 Filed: 06/15/20 Page: 3 of 3 PageID #: 4338




                                                      Respectfully submitted,

                                                      /s/ JoANN TROG
                                                      Jo ANNTROG                   42725MO
                                                      Attorney for Defendant
                                                      121 West Adams Avenue
                                                      Saint Louis, Missouri 63122
                                                      Telephone: (314) 821-1111
                                                      Facsimile: (314) 821-9798
                                                      E-Mail:     Jtrogmwb@aol.com




                                     CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2020, the foregoing was filed electronically with the Clerk
of the Court to be served by operation of the Court’s electronic filing system upon Matthew T.
Drake, Assistant United States Attorney 111 South 10th Street, 20th Floor, St. Louis, Missouri 63102.

       I hereby certify that on June15, 2020, a copy of the foregoing was sent to Vashall R.
Anderson, United States Probation Officer, via e-mail (Vashell_Anderson@moep.uscourtrs.gov),
111 South 10th Street, Suite 2.325, St. Louis, Missouri 63102.


                                                      /s/ JoANN TROG




                                                 3
